                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

 ERNEST KEVIN TRIVETTE, et al.,

                      Plaintiffs,
                                                          Civil No. 3:20-cv-00276
v.                                                        Judge Aleta A. Trauger
 TENNESSEE DEPARTMENT OF
 CORRECTION,
              Defendant.



                              INITIAL CASE MANAGEMENT ORDER


        Now come the Plaintiffs and Defendant, by counsel, pursuant to Rule 26(f) of the Federal

Rules of Civil Procedure with their Joint Proposed Initial Case Management Order. Counsel for

the parties met on October 8, 2021. Representing Plaintiffs were Stacie Price and Daniel L. Ellis

of Disability Rights Tennessee (DRT); representing Defendant was Pamela S. Lorch, Senior

Assistant Attorney General, Civil Law Division. Counsel discussed and considered all items

identified in Rule 26(f)(2) and the Court’s local rule.

      A.     JURISDICTION: This action arises under the laws of the United States. The court

             has jurisdiction pursuant 28 U.S.C. §§ 1331 and 1343.

      B.     BRIEF THEORIES OF THE PARTIES

               1) PLAINTIFF: Plaintiffs bring these claims under Title II of the Americans

                   with Disabilities Act, 42 U.S.C. § 12131 et seq. (“ADA” or “Title II”), and

                   Section 504 of the Rehabilitation Act, 29 U.S.C. § 794 (“Section 504”), to

                   challenge TDOC’s discrimination against and resulting injury to Mr. Trivette,

                   Mr. Stinnett, Mr. Collins, and Mr. White who are all Plaintiffs and DRT’s

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            Exemplar Constituents, and all deaf and hard of hearing inmates currently in

            TDOC custody who are all DRT’s constituents. Plaintiffs allege that TDOC

            has discriminated against Plaintiffs in violation of the ADA on the basis of

            their disabilities and in violation of Section 504 solely by reason of their

            disabilities. This discrimination includes but is not limited to failure to provide

            equal access to TDOC’s programs, services, and activities; failure to provide

            effective communication; failure to make reasonable modifications in policies,

            practices, and/or procedures; and failure to provide appropriate auxiliary aids

            and services. Plaintiffs seek declaratory relief, injunctive relief, damages, and

            award of reasonable attorneys’ fees and costs.

         2) DEFENDANT: Defendant Tennessee Department of Correction denies that it

            has discriminated against Plaintiffs on the basis of their disability in violation

            of the ADA or RA. TDOC provides equal access, effective communications,

            reasonable modifications in its policies, practices and/or procedures and

            appropriate auxiliary aids and services to Deaf and hard-of-hearing persons

            incarcerated in TDOC prisons. Defendant denies that Plaintiffs are entitled to

            declaratory relief, injunctive relief, damages, or an award of attorneys’ fees

            and costs.

 C.    ISSUES RESOLVED: Venue.

 D.    ISSUES STILL IN DISPUTE: Jurisdiction, liability, injunctive relief, and

       damages.

 E.    INITIAL DISCLOSURES: The parties shall exchange initial disclosures pursuant

       to Fed. R. Civ. P. 26(a)(1) on or before November 30, 2021.


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 F.    DISCOVERY: The parties shall complete all written discovery and depose all fact

       witnesses on or before July 15, 2022. Discovery is not stayed during dispositive

       motions, unless ordered by the court. No motions concerning discovery are to be filed

       until after the parties have conferred in good faith and, unable to resolve their

       differences, have scheduled and participated in a conference telephone call with

       Judge Trauger.

 G.    MOTIONS TO AMEND: The parties shall file all Motions to Amend on or before

       February 1, 2022.

 H.    DISCLOSURE OF EXPERTS: The Plaintiffs shall identify and disclose all expert

       witnesses and expert reports on or before August 15, 2022. The Defendant shall

       identify and disclose all expert witnesses and reports on or before September 30,

       2022.

 I.    DEPOSITION OF EXPERT WITNESSES: The parties shall depose all expert

       witnesses on or before November 30, 2022.

 J.    JOINT MEDIATION REPORT: The parties shall file a joint mediation report on or

       before December 15, 2022.

 K.    EFFECTIVE COMMUNICATION DURING DEPOSITIONS: The party noticing

       the deposition has the obligation to provide the effective communication required by

       Title II of the ADA.

 L.    DISPOSITIVE MOTIONS: The parties shall file all dispositive motions on or before

       January 15, 2023. Responses to dispositive motions shall be filed within twenty-

       one (21) days after the filing of the motion. Optional replies may be filed within ten

       (10) days after the filing of the responses. Briefs shall not exceed 20 pages.    No



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            motion for partial summary judgment shall be filed except upon leave of the court.

            Any party wishing to file such a motion shall first file a separate motion that gives

            the justification for filing a partial summary judgment motion in terms of overall

            economy of time and expense for the parties, counsel, and the court.

     M.     ELECTRONIC DISCOVERY: The parties have discussed electronic discovery and

            have agreed on some basic guidelines. Therefore, Administrative Order No. 174-1

            need not apply to this case. However, should a dispute in electronic discovery arise,

            the default standards of AO No. 174-1 will apply.”

     N.     ESTIMATED TRIAL TIME: The parties expect the trial to last approximately 7-

            10 days.

       It is so ORDERED.



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                                                    Aleta A. Trauger
                                                    U.S. District Judge

Approved for Entry:

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